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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

In re:

160 Royal Palm, LLC,                                  Case No. 18-19441-EPK

      Debtor.                                         Chapter 11
_____________________________/

            CROSS-NOTICE OF TAKING DEPOSITION OF GLENN STRAUB

         The EB-5 Investors1, through their undersigned counsel David J. George, hereby give

notice that they shall depose Glenn Straub (the "Deponent") under oath on Thursday, November

29, 2018 at 9:30 p.m. at the Palm Beach Polo Golf & Country Club, 11199 Polo Club Road,

Wellington, FL 33414.

         The examination may continue from day to day until completed.

         If the Deponent requires an interpreter, it is the Deponent’s responsibility to engage the

employment of such interpreter to be present at the examination. The examination is being

conducted pursuant to Rule 45 of the Federal Rules of Civil Procedure, and will be taken before

an officer authorized to record the testimony. The scope of the examination shall be as described

in Rule 45 of the Federal Rules of Civil Procedure.


1
  LAN LI, YING TAN, TAO XIONG, JUNQIANG FENG, RAN CHEN, XIANG SHU, HAO
LOU, XIANG CHUNHUA, KUANG YAOPING, BEI ZHU, QIONG DENG, QIONGFANG
ZHU, ZHILING GAN, CUILIAN LI, YULONG TANG, LILI ZHANG, SHUANGYUN
WANG, WENHAO ZHANG, SHA SHI, LIYAN FENG, SHAOQING ZENG, MIN CUI, RUJI
LI, QINGYUN YU, LING LI, YINGJUN YANG, BAOPING LIU, DAQIN WENG,
SHAOPING HUANG, YI ZHAO, CHANGYUE LIU, YAJUN KANG, CHENGYU GU, YAN
CHEN, DONGSHENG ZHU, RUJING WEI, ZHAOHUI LI, JUEWEI ZHOU, MIN LI,
CHUNNING YE, HONGRU PAN, FENG GUO, ZHENG YU, TINGTING SUN, XIAO SUN,
YAWEN LI, TONGHUI LUAN, LI ZHANG, YUANBO WANG, SHU JIANG, YING FEI, LI
DONGSHENG, TANG CHEOK FAI, XIAONAN WANG ,MOHAMMAD ZARGAR,
SHAHRIAR EBRAHIMIAN, REZA SIAMAK NIA, SARA SALEHIN, SANAZ SALEHIN,
ALI ADAMPEYRA MOHAMMADREZA SEDAGHAT and HALIL ERSEVEN
{1902/000/00321340}              1
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                               ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

                                             Respectfully Submitted,

                                             Pro Hac Vice Counsel for EB-5 Investors
                                             George Gesten McDonald, PLLC
                                             George Gesten McDonald, PLLC
                                             9897 Lake Worth Road, Suite 302
                                             Lake Worth, FL 33467
                                             Telephone: (561) 232-6002
                                             Facsimile: (888) 421-4173
                                             Email: dgeorge@4-Justice.com
                                             Email: eservice@4-Justice.com

                                             By: ____/s/ David J. George___
                                             David J. George
                                             Florida Bar No: 898570




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Mail through the Case Management/Electronic Case Filing to those parties

registered to receive electronic notices in this case on November 28, 2018.

                                             SHRAIBERG, FERRARA & LANDAU, P.A.
                                             Attorneys for the Debtor
                                             2385 NW Executive Center Drive
                                             Suite 300
                                             Boca Raton, Florida 33431
                                             Telephone: 561-443-0800
                                             Facsimile: 561-998-0047
                                             Email: ependergraft@slp.law

                                             By:    /s/ Eric Pendergraft
                                                    Eric Pendergraft
                                                    Fla. Bar No. 91927




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